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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

IN RE:                                 §
                                       §
WATSON GRINDING &                      §          CASE NO. 20-30967
MANUFACTURING CO.,                     §
                                       §          (Chapter 11)
      Debtor.                          §


ALEX MABRY,                           §
                                      §
         Plaintiff,                   §
                                      §
vs.                                   §
                                      §
WATSON VALVE SERVICES, INC.,          §            ADVERSARY NO. _________
WATSON GRINDING AND                   §
MANUFACTURING CO., KMHJ,              §
LTD., KMHJ MANAGEMENT                 §
COMPANY, LLC, MATHESON TRI-           §
GAS, INC., WESTERN                    §
INTERNATIONAL GAS &                   §
CYLINDERS, INC., ARC                  §
SPECIALTIES, INC., AUTOMATION         §
PLUS, INC., AUTOMATION                §
PROCESS, INC., FIRESTONE              §
CRYOGENICS, INC., FIRESTONE           §
CRYOGENIC EQUIPMENT, INC.,            §
TELEDYNE TECHNOLOGIES, INC.           §
F/K/A DETCON, INC., TELEDYNE          §
EXPLORATION COMPANY,                  §
DETCON, INC. D/B/A OLDHAM,            §
TELEDYNE DETCON, INC., 3M             §
COMPANY, TRCC, LLC,                   §
DATAONLINE, LLC, AND                  §
INDUSTRIAL SCIENTIFIC                 §
CORPORATION,                          §
                                      §
         Defendants.                  §




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                                         NOTICE OF REMOVAL

        Janet S. Northrup, Chapter 11 Trustee (the “Trustee”) of the Estate of Watson Grinding &

Manufacturing Co. (the “Debtor”), files this Notice of Removal of the state court action styled Alex

Mabry vs. Watson Valve Services, Inc., Watson Grinding and Manufacturing Co., KMHJ, LTD., KMHJ

Management Company, LLC, Matheson Tri-Gas, Inc., Western International Gas & Cylinders, Inc., ARC

Specialties, Inc., Automation Plus, Inc., Automation Process, Inc., Firestone Cryogenics, Inc., Firestone Cryogenic

Equipment, Inc., Teledyne Technologies, Inc. f/k/a Detcon, Inc., Teledyne Exploration Company, Detcon, Inc. d/b/a

Oldham, Teledyne Detcon, Inc., 3M Company, TRCC, LLC, DataOnline, LLC, and Industrial Scientific

Corporation, Cause No. 2020-39914, pending in the 295th Judicial District Court of Harris County, Texas

(the “State Court Action”).

                            I.       Procedural Background and Nature of Suit

        1.       On July 7, 2020, Alex Mabry (the “Plaintiff”) filed an Original Petition (the “Original

Petition”) against Watson Valve Services, Inc., Watson Grinding and Manufacturing Co., KMHJ,

LTD., KMHJ Management Company, LLC., Matheson Tri-Gas, Inc., Western International Gas &

Cylinders, Inc., ARC Specialties, Inc., Automation Plus, Inc., Automation Process, Inc., Firestone

Cryogenics, Inc., Firestone Cryogenic Equipment, Inc., Teledyne Technologies, Inc. f/k/a Detcon

Inc., Teledyne Exploration Company, Detcon, Inc. d/b/a Oldham, Teledyne Detcon, Inc., 3M

Company, TRCC, LLC, DataOnline, LLC, and Industrial Scientific Corporation, (collectively, the

“Defendants”). In their Original Petition, the Plaintiffs assert claims of negligence, gross negligence,

and/or products liability - design defect against the Defendants.

        2.       On July 8, 2020, Western International Gas & Cylinders, Inc. and Matheson Tri-Gas,

Inc.’s Crossclaims Against Watson Grinding and Manufacturing Co. and Watson Valve Services, Inc.

was filed.




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         3.     On July 16, 2020, KMHJ, Ltd. and KMHJ Management Company, LLC, filed their

Original Answer.

         4.     On July 16, 2020, Western International Gas & Cylinders, Inc. and Matheson Tri-Gas,

Inc., filed their Original Answer.

         5.     On February 6, 2020 (the “Petition Date”), the Debtor filed its Voluntary Petition

under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”), commencing the

bankruptcy case captioned In re Watson Grinding & Manufacturing Co., Case No. 20-30967, pending in

the United States Bankruptcy Court for the Southern District of Texas, Houston Division (the

“Chapter 11 Bankruptcy Case”).

                                       II.     Basis for Removal

         6.     This Notice of Removal is filed pursuant to 28 U.S.C. § 1452, Bankruptcy Rule 9027,

and Local Bankruptcy Rules 9027-1, 9027-2, 9027-3, and the General Order of Reference entered by the

District Court of this District on March 10, 2005.

         7.     The State Court Action was initiated after the commencement of the Chapter 11 Case.

This Notice of Removal has been timely filed pursuant to Bankruptcy Rule 9027(a)(2). In re R.E. Loans,

LLC, No. 11-35865, 2012 WL 3262767, at *2 (Bankr. S.D. Tex. Aug. 8, 2012).

         8.     Venue in this Court is proper pursuant to 28 U.S.C. § 1409.

         9.     Cases subject to jurisdiction are removable under the authority of 28 U.S.C. § 1452(a)

(“A party may remove any claim or cause of action…to the district court for the district where such

civil action is pending, if such district court has jurisdiction of such claim or cause of action under

section 1334 of this title”). The State Court Action, including all claims and causes of action asserted

therein, is a civil action other than a proceeding before the United States Tax Court. The State Court

Action is not a civil action by a government unit to enforce such government unit’s police or regulatory

power.

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          10.   This Court has jurisdiction over this case pursuant to 28 U.S.C. § 1334(b) (federal

district courts have “original jurisdiction of all civil proceedings…arising in or related to cases under

title 11”). The State Court Action “arises in” or, alternatively, is “related to” a Title 11 case, i.e. the

Debtor’s Chapter 11 Bankruptcy Case. In this circuit, “related to” proceedings include any case whose

outcome “could conceivably have any effect on the administration of the estate.” In re Wood, 825 F.2d

90, 93 (5th Cir. 1987) (emphasis added); In re Baudoin, 981 F.2d 736, 740 (5th Cir. 1993).

          11.   The resolution of this State Court Action will have a direct impact on the bankruptcy

estate of the Debtor. The State Court Action is related to the Debtor’s Chapter 11 Bankruptcy Case

because the outcome of State Court Action could conceivably change the Debtor’s rights, liabilities,

or options in a way that would have an effect upon the handling and administration of the bankruptcy

estate.

          12.   Thus, the claims asserted in the State Court Action are claims that arise in or are

otherwise related to the Debtor’s Chapter 11 Case pursuant to 28 U.S.C. § 1334(b), and removal to

this Court is proper pursuant to 28 U.S.C. § 1452(a).

                          III.    Core or Non-Core Bankruptcy Jurisdiction

          13.   This action involves the administration of the Debtor’s estate and is a proceeding

affecting the adjustment of the debtor-creditor relationship; it is, therefore, a core proceeding under

28 U.S.C. § 157(b)(2)(A)(B)(C) and (O). The claims and causes of action in the State Court Action

have a clear and direct impact on the interests and property of the Debtor’s estate under 11 U.S.C. §

541.

          14.   Upon removal of the State Court Action, the Trustee consents to the entry of final

orders or judgment by the bankruptcy judge.




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                                       IV.    Parties and Notice

       15.       Pursuant to 28 U.S.C. § 1452(a), Federal Bankruptcy Rule 9027(b), and Local Rule

9027-1, all adverse parties are being provided with a copy of this Notice of Removal and a copy of

this Notice of Removal is being filed with the clerk of the 295th Judicial District Court of Harris

County, Texas.

       16.       In accordance with Local Rule 9027-1(a), the names and addresses of the parties and

counsel in the State Court Action, who have or will be served with the notice, are as follows:

 McMillan Firm, P.L.L.C.                              McCoy Leavitt Laskey LLC
 Chance A. McMillan                                   John V. McCoy
 440 Louisiana Street, Suite 1200                     Michael I. Ramirez
 Houston, Texas 77002-1691                            N19 W24200 Riverwood Dr., Suite 125
                                                      Waukesha, WI 53188
 ATTORNEYS FOR PLAINTIFF
                                                      ATTORNEYS FOR WATSON GRINDING &
                                                      MANUFACTURING CO.

                                                      Gieger, Laborde & Laperouse L.L.C.
                                                      Ernest P. Gieger, Jr.
                                                      701 Poydras Street, Suite 4800
                                                      New Orleans, Louisiana 70139

                                                      ATTORNEYS FOR WATSON VALVE SERVICES,
                                                      INC.
 Greenberg Traurig, LLP                               Jackson Walker L.L.P.
 Mary-Olga Lovett                                     Bruce J. Ruzinsky
 1000 Louisiana St., Suite 1700                       1401 McKinney, Suite 1900
 Houston, Texas 77002                                 Houston, Texas 77010

 Greenberg Traurig, LLP                               The Silvera Firm
 Christopher M. LaVigne                               Robert C. Turner
 2200 Ross Avenue, Suite 5200                         17070 Dallas Parkway, Suite 100
 Dallas, Texas 75201                                  Dallas, Texas 75248

 ATTORNEYS FOR MATHESON TRI-GAS, INC.                 ATTORNEYS FOR KMHJ, LTD. AND KMHJ
 AND WESTERN INTERNATIONAL GAS &                      MANAGEMENT COMPANY, LLC
 CYLINDER, INC.




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                                    V.      Process and Pleadings

       17.     Pursuant to Bankruptcy Rule 9027(a)(1) and Local Bankruptcy Rule 9027-1(b), true

and correct copies of all process and pleadings filed in the State Court Action (as set forth in the

attached Exhibit “A”) have been provided to this Court.

       18.     In the State Court Action, citations of service were issued on July 8, 2020. No citations

have been returned.

       19.     In accordance with Bankruptcy Rule 9027(c), the Trustee will promptly file a notice of

the filing of this Notice of Removal in the State Court Action.

       WHEREFORE, the Trustee notifies the United States Bankruptcy Court for the Southern

District of Texas, Houston Division, that the State Court Action is hereby removed in its entirety to

this Court pursuant to 28 U.S.C. § 1452(a) and Bankruptcy Rule 9027.

Dated: July 28, 2020.

                                                       Respectfully submitted,

                                                       JONES MURRAY & BEATTY, LLP

                                                       By: /s/ Ruth Van Meter
                                                       Erin E. Jones
                                                       Texas Bar No. 24032478
                                                       Ruth Van Meter
                                                       Texas Bar No. 20661570
                                                       4119 Montrose Blvd, Suite 230
                                                       Houston, Texas 77006
                                                       Phone: 832-529-1999
                                                       Fax: 832-529-5513
                                                       erin@jmbllp.com
                                                       ruth@jmbllp.com

                                                       PROPOSED SPECIAL COUNSEL FOR JANET
                                                       S. NORTHRUP, CHAPTER 11 TRUSTEE OF
                                                       THE ESTATE OF WATSON GRINDING &
                                                       MANUFACTURING CO.




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                                           AND

                                    HUGHESWATTERSASKANASE, LLP

                                    By: /s/ Wayne Kitchens
                                    Wayne Kitchens
                                    Texas Bar No. 11541110
                                    Heather McIntyre
                                    Texas State Bar No. 24041076
                                    Total Plaza
                                    1201 Louisiana, 28th Floor
                                    Houston, Texas 77002
                                    Telephone: (713) 759-0818
                                    Facsimile: (713) 759-6834
                                    wkitchens@hwa.com
                                    hmcintyre@hwa.com

                                    PROPOSED COUNSEL FOR JANET S.
                                    NORTHRUP, CHAPTER 11 TRUSTEE OF THE
                                    ESTATE OF WATSON GRINDING &
                                    MANUFACTURING CO.

                                           AND

                                    McCOY LEAVITT LASKEY LLC

                                    By: /s/ Michael I. Ramirez
                                    Michael I. Ramirez
                                    Texas Bar No. 24008604
                                    20726 Stone Oak Parkway, Suite 116
                                    San Antonio, TX 78258
                                    Telephone (210) 446-2828
                                    Fax (262) 522-7020
                                    mramirez@mlllaw.com

                                    COUNSEL FOR WATSON GRINDING &
                                    MANUFACTURING CO.




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                                      CERTIFICATE OF SERVICE

        I certify that on July 28, 2020, a true and correct copy of the foregoing Notice was served via
ECF/PACER to all parties registered to receive such service via first class mail (without attachments)
to the following:

 McMillan Firm, P.L.L.C.                              McCoy Leavitt Laskey LLC
 Chance A. McMillan                                   John V. McCoy
 440 Louisiana Street, Suite 1200                     Michael I. Ramirez
 Houston, Texas 77002-1691                            N19 W24200 Riverwood Dr., Suite 125
                                                      Waukesha, WI 53188
 ATTORNEYS FOR PLAINTIFF
                                                      ATTORNEYS FOR WATSON GRINDING &
                                                      MANUFACTURING CO.

                                                      Gieger, Laborde & Laperouse L.L.C.
                                                      Ernest P. Gieger, Jr.
                                                      701 Poydras Street, Suite 4800
                                                      New Orleans, Louisiana 70139

                                                      ATTORNEYS FOR WATSON VALVE SERVICES,
                                                      INC.
 Greenberg Traurig, LLP                               Jackson Walker L.L.P.
 Mary-Olga Lovett                                     Bruce J. Ruzinsky
 1000 Louisiana St., Suite 1700                       1401 McKinney, Suite 1900
 Houston, Texas 77002                                 Houston, Texas 77010

 Greenberg Traurig, LLP                               The Silvera Firm
 Christopher M. LaVigne                               Robert C. Turner
 2200 Ross Avenue, Suite 5200                         17070 Dallas Parkway, Suite 100
 Dallas, Texas 75201                                  Dallas, Texas 75248

 ATTORNEYS FOR MATHESON TRI-GAS, INC.                 ATTORNEYS FOR KMHJ, LTD. AND KMHJ
 AND WESTERN INTERNATIONAL GAS &                      MANAGEMENT COMPANY, LLC
 CYLINDER, INC.




                                                        /s/ Ruth Van Meter
                                                        Ruth Van Meter




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                          EXHIBIT A
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                                             Harris County Docket Sheet


2020-39914
COURT: 295th
FILED DATE: 7/7/2020
CASE TYPE: Other Injury or Damage

                                              MABRY, ALEX
                                       Attorney: MCMILLAN, CHANCE ALLEN

                                                      vs.
                                     WATSON VALVE SERVICES INC


                                              Docket Sheet Entries
             Date          Comment




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                                  CAUSE NO. 2020-39914

ALEX MABRY                                     §        IN THE DISTRICT COURT OF
                                               §
                Plaintiffs,                    §
                                               §
vs.                                            §        HARRIS COUNTY, TEXAS
                                               §
WATSON VALVE SERVICES, INC.,                   §
WATSON GRINDING AND                            §
MANUFACTURING CO., KMHJ, LTD.,                 §
KMHJ MANAGEMENT COMPANY,                       §
LLC, MATHESON TRI-GAS, INC.,                   §
WESTERN INTERNATIONAL GAS &                    §
CYLINDERS, INC., ARC SPECIAL TIES,             §
INC., AUTOMATION PLUS, INC.,                   §
AUTOMATION PROCESS, INC.,                      §
FIRESTONE CRYOGENICS, INC.,                    §
FIRESTONE CRYOGENIC                            §
EQUIPMENT, INC., TELEDYNE                      §
TECHNOLOGIES, INC. F/K/A DETCON                §
INC., TELEDYNE EXPLORATION                     §
COMPANY, DETCON, INC. D/B/A                    §
OLDHAM, TELEDYNE DETCON, INC.,                 §
3M COMPANY, TRCC, LLC,                         §
DATAONLINE, LLC, AND INDUSTRIAL                §
SCIENTIFIC CORPORATION                         §
                                               §
                Defendants.                    §        295th JUDICIAL DISTRICT

______________________________________________________________________________

  WESTERN INTERNATIONAL GAS & CYLINDERS, INC. AND MATHESON TRI-
        GAS, INC.’S CROSSCLAIMS AGAINST WATSON GRINDING AND
         MANUFACTURING CO. AND WATSON VALVE SERVICES, INC.
______________________________________________________________________________

        Defendants / Cross-Claimants, Western International Gas & Cylinders, Inc. (“Western”)

and Matheson Tri-Gas, Inc. (“Matheson” and collectively with Western the “Cross-Claimants”),

hereby file their Crossclaims against Watson Grinding and Manufacturing Co. (“Watson

Grinding”) and Watson Valve Services, Inc. (“Watson Valve”, and collectively with Watson

Grinding, the “Crossclaim Defendants”) as follows:
WESTERN INTERNATIONAL GAS & CYLINDERS, INC. AND MATHESON TRI-GAS, INC.’S CROSSCLAIMS
AGAINST WATSON GRINDING AND MANUFACTURING CO. AND WATSON VALVE SERVICES, INC.- Page 1
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                              I.      FACTUAL BACKGROUND

        1.      This litigation arises out of a fire and explosion that occurred in the early-morning

on Friday, January 24, 2020 at the Watson Grinding and Watson Valve facilities (collectively,

the “Watson Facilities”) located in Houston, Texas. The cause of the fire and explosion is

currently unknown.

        2.      Matheson, through its wholly owned subsidiary, Western, supplied polymer grade

propylene to Watson Grinding.

        3.      Plaintiff’s claims against Matheson and Western arise from and relate to the

January 24 fire and explosion that occurred at the Watson Facilities.

        4.      Pursuant to Texas statutory and common law, as well as a June 22, 2017 Product

Supply Agreement between Matheson and Watson Grinding, Cross-Claimants are entitled to

comparative liability, contribution, defense, and indemnity from Watson Grinding and Watson

Valve as set forth below.

                                     II.     CROSSCLAIMS

    A. Comparative Liability and Contribution

        5.      Cross-Claimants deny any and all liability in this litigation and deny Plaintiff’s

allegations. To the degree Cross-Claimants are found liable to Plaintiff or others for damages

caused in whole or in part by any acts or omissions of Watson Grinding relating to the explosion

and fire at the Watson Facilities on January 24, 2020, Matheson and Western are entitled to

contribution from Watson Grinding pursuant to Chapter 33 of the Texas Civil Practice &

Remedies Code, or as otherwise permitted by Texas statutory and common law, for any

percentage of liability assigned to Cross-Claimants.




WESTERN INTERNATIONAL GAS & CYLINDERS, INC. AND MATHESON TRI-GAS, INC.’S CROSSCLAIMS
AGAINST WATSON GRINDING AND MANUFACTURING CO. AND WATSON VALVE SERVICES, INC.- Page 2
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        6.      The explosion and fire that is the basis for Plaintiff’s claims in this litigation

occurred at the Watson Facilities. Watson Grinding is or may be liable to Cross-Claimants or

Plaintiff for all or part of Plaintiff’s claims.

        7.      Cross-Claimants deny any and all liability in this litigation and deny Plaintiff’s

allegations. To the degree Cross-Claimants are found liable to Plaintiff or others for damages

caused in whole or in part by any acts or omissions of Watson Valve relating to the explosion

and fire at the Watson Facilities on January 24, 2020, Matheson and Western are entitled to

contribution from Watson Valve pursuant to Chapter 33 of the Texas Civil Practice & Remedies

Code, or as otherwise permitted by Texas statutory and common law, for any percentage of

liability assigned to Cross-Claimants.

        8.      The explosion and fire that is the basis for Plaintiff’s claims in this litigation

occurred at the Watson Facilities. Watson Valve is or may be liable to Cross-Claimants or

Plaintiff for all or part of Plaintiff’s claims.

    B. Indemnity

        9.      Cross-Claimants deny any and all liability in this litigation and deny Plaintiff’s

allegations. To the degree Cross-Claimants are found liable to Plaintiff or others for damages

caused in whole or in part by any acts or omissions of Watson Grinding relating to the explosion

and fire at the Watson Facilities on January 24, 2020, Cross-Claimants are entitled to defense,

indemnity, and to be held harmless by and from Watson Grinding pursuant to the June 22, 2017

Product Supply Agreement, or as otherwise permitted by Texas statutory and common law.

        10.     Cross-Claimants deny any and all liability in this litigation and deny Plaintiff’s

allegations. To the degree Cross-Claimants are found liable to Plaintiff or others for damages

caused in whole or in part by any acts or omissions of Watson Valve relating to the explosion

WESTERN INTERNATIONAL GAS & CYLINDERS, INC. AND MATHESON TRI-GAS, INC.’S CROSSCLAIMS
AGAINST WATSON GRINDING AND MANUFACTURING CO. AND WATSON VALVE SERVICES, INC.- Page 3
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and fire at the Watson Facilities on January 24, 2020, Cross-Claimants are entitled to defense,

indemnity, and to be held harmless by and from Watson Valve pursuant to the June 22, 2017

Product Supply Agreement, or as otherwise permitted by Texas statutory and common law.

                                        III.   PRAYER

        WHEREFORE, PREMISES CONSIDERED, Cross-Claimants Matheson and Western

pray that: (1) Watson Grinding’s negligence or comparative fault be submitted to the trier of fact

for consideration for contribution, (2) Watson Valve’s negligence or comparative fault be

submitted to the trier of fact for consideration for contribution, (3) Watson Grinding be held to

defend and indemnify Cross-Claimants for any liability caused by Watson Grinding, (4) Watson

Valve be held to defend and indemnify Cross-Claimants for any liability caused by Watson

Valve and (5) for such other and further relief to which Cross-Claimants may be justly entitled.


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WESTERN INTERNATIONAL GAS & CYLINDERS, INC. AND MATHESON TRI-GAS, INC.’S CROSSCLAIMS
AGAINST WATSON GRINDING AND MANUFACTURING CO. AND WATSON VALVE SERVICES, INC.- Page 4
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Date: July 8, 2020
                                           Respectfully submitted,

                                           Mary-Olga Lovett
                                            State Bar No. 00789289
                                             lovettm@gtlaw.com
                                           Karl D. Burrer
                                            State Bar No. 24043584
                                             burrerk@gtlaw.com
                                           GREENBERG TRAURIG, LLP
                                           1000 Louisiana, Suite 1700
                                           Houston, TX 77002
                                           Telephone: 713-374-3500
                                           Facsimile: 713-374-3505

                                           /s/ Christopher M. LaVigne
                                           Christopher M. LaVigne
                                             State Bar No. 24026984
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                                           Daniel P. Elms
                                             State Bar No. 24002049
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                                           Samuel G. Davison
                                             State Bar No. 24084280
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                                             State Bar No. 24099029
                                             stearnssa@gtlaw.com
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                                           Dallas, Texas 75201
                                           Telephone: 214-665-3600
                                           Facsimile: 214-665-3601

                                           Attorneys for Western International Gas &
                                           Cylinders, Inc. and Matheson Tri-Gas, Inc.




WESTERN INTERNATIONAL GAS & CYLINDERS, INC. AND MATHESON TRI-GAS, INC.’S CROSSCLAIMS
AGAINST WATSON GRINDING AND MANUFACTURING CO. AND WATSON VALVE SERVICES, INC.- Page 5
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                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served on all
parties on July 8, 2020 via the Court’s emailing system to all counsel of record.


                                                    /s/ Christopher M. LaVigne
                                                    Christopher M. LaVigne




WESTERN INTERNATIONAL GAS & CYLINDERS, INC. AND MATHESON TRI-GAS, INC.’S CROSSCLAIMS
AGAINST WATSON GRINDING AND MANUFACTURING CO. AND WATSON VALVE SERVICES, INC.- Page 6
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                                                                                                           By: Kenya Kossie
                                                                                                  Filed: 7/16/2020 3:13 PM

                                       CAUSE NO. 2020-39914

ALEX MABRY                                         §          IN THE DISTRICT COURT OF
                                                   §
               Plaintiffs,                         §
                                                   §
vs.                                                §              HARRIS COUNTY, TEXAS
                                                   §
WATSON VALVE SERVICES, INC.,                       §
WATSON GRINDING AND                                §
MANUFACTURING CO., KMHJ, LTD.,                     §
KMHJ MANAGEMENT COMPANY,                           §
LLC, MATHESON TRI-GAS, INC.,                       §
WESTERN INTERNATIONAL GAS &                        §
CYLINDERS, INC., ARC SPECIAL TIES,                 §
INC., AUTOMATION PLUS, INC.,                       §
AUTOMATION PROCESS, INC.,                          §
FIRESTONE CRYOGENICS, INC.,                        §
FIRESTONE CRYOGENIC                                §
EQUIPMENT, INC., TELEDYNE                          §
TECHNOLOGIES, INC. F/K/A DETCON                    §
INC., TELEDYNE EXPLORATION                         §
COMPANY, DETCON, INC. D/B/A                        §
OLDHAM, TELEDYNE DETCON, INC.,                     §
3M COMPANY, TRCC, LLC,                             §
DATAONLINE, LLC, AND INDUSTRIAL                    §
SCIENTIFIC CORPORATION                             §
                                                   §
               Defendants.                         §              295th JUDICIAL DISTRICT

______________________________________________________________________________

           WESTERN INTERNATIONAL GAS & CYLINDERS, INC AND
               MATHESON TRI-GAS, INC.’S ORIGINAL ANSWER
______________________________________________________________________________

       Defendants, Western International Gas & Cylinders, Inc. and Matheson Tri-Gas, Inc.

(collectively, “Defendants”), hereby file their Original Answer as follows:

                                  I.       GENERAL DENIAL

       Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendants generally deny

each and every claim and cause of action asserted by Plaintiffs and demand strict proof thereof.


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                                  II.   REQUEST FOR RELIEF

       WHEREFORE, Defendants Western International Gas & Cylinders, Inc. and Matheson

Tri-Gas, Inc. respectfully request that Plaintiffs take nothing by reason of their suit against

Defendants, and that the Court grant such other and further relief, at law or in equity, to which

Defendants are justly entitled.

Dated: July 16, 2020                              Respectfully submitted,

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                                                  Attorneys for Defendants Western
                                                  International Gas & Cylinders, Inc. and
                                                  Matheson Tri-Gas, Inc.




WESTERN INTERNATIONAL GAS & CYLINDERS, INC AND MATHESON TRI-GAS, INC.’S ORIGINAL ANSWER - Page 2
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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served on all
parties on July 16, 2020 via the Court’s emailing system to all counsel of record.



                                                      /s/ Christopher M. LaVigne
                                                      Christopher M. LaVigne




WESTERN INTERNATIONAL GAS & CYLINDERS, INC AND MATHESON TRI-GAS, INC.’S ORIGINAL ANSWER - Page 3
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                                                                        Marilyn Burgess - District Clerk Harris County
                                                                                             Envelope No. 44597444
                                                                                                     By: Kenya Kossie
                                                                                            Filed: 7/16/2020 5:41 PM

                                    CAUSE NO. 2020-39914

ALEX MABRY,                                               §   IN THE DISTRICT COURT OF
     Plaintiff,                                           §
                                                          §
 vs.                                                      §
                                                          §
 WATSON VALVE SERVICES, INC.,                             §
 WATSON GRINDING AND                                      §
 MANUFACTURING CO., KMHJ, LTD.,                           §
 KMHJ MANAGEMENT COMPANY,                                 §
 LLC, MATHESON TRI-GAS,                                   §     HARRIS COUNTY, TEXAS
 INC.,WESTERN INTERNATIONAL                               §
 GAS & CYLINDERS, INC., ARC                               §
 SPECIALTIES, INC., AUTOMATION                            §
 PLUS, INC., AUTOMATION PROCESS,                          §
 INC., FIRESTONE CRYOGENICS,                              §
 INC.; FIRESTONE CRYOGENIC                                §
 EQUIPMENT, INC., TELEDYNE                                §
 TECHNOLOGIES INC., f/k/a DETCON,                         §
 INC., TELEDYNE EXPLORATION                               §
 COMPANY, DETCON, INC. D/B/A                              §
 OLDHAM, 3M COMPANY, TRCC, LLC,                           §
 DATAONLINE, LLC, and INDUSTRIAL                          §
 SCIENTIFIC CORPORATION,                                  §
        Defendants.                                       §      295th JUDICIAL DISTRCT

                     ORIGINAL ANSWER OF DEFENDANTS
              KMHJ, LTD. AND KMHJ MANAGEMENT COMPANY, LLC

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, KMHJ, LTD and KMHJ MANAGEMENT COMPANY, LLC, and subject

to Watson Valve Services, Inc.’s and Watson Grinding and Manufacturing Co.’s bankruptcy

proceedings and Motions to Stay, and any pending Temporary Restraining Orders or Temporary

Injunctions, and files this, their Original Answer to Plaintiff’s Original Petition and would

respectfully show the court and the parties as follows:




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KMHJ, LTD. AND KMHJ MANAGEMENT COMPANY, LLC                                                 Page 1
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                                                I.

                                     GENERAL DENIAL

       Defendants KMHJ, Ltd. and KMHJ Management Company, LLC generally deny each and

every, all and singular, the material allegations in Plaintiff’s petition and demand strict proof

thereof by a preponderance of the evidence. Defendants hereby enter a General Denial.

                                               II.

       Defendants KMHJ, Ltd. and KMHJ Management Company, LLC assert there is a defect

of parties. Defendants did not operate nor manage a manufacturing business or facility in Houston,

Harris County, Texas. Defendants did not own nor operate a business utilizing propylene or other

such chemicals.

                                               III.

       Defendants KMHJ, Ltd. and KMHJ Management Company, LLC assert that Defendants

are not liable in the capacity in which they have been sued. Defendants did not operate nor manage

a manufacturing business or facility in Houston, Harris County, Texas. Defendants did not own

nor operate a business utilizing propylene or other such chemicals.

                                               IV.

       Further pleading, Defendants allege the action in question and any resulting damages were

as a result of the acts or omissions of other named parties or entities and Defendants invoke the

provisions of Texas Civil Practice Remedies Code, including but not limited to Chapter 33 and

§33.001; §33.002; §33.003; §33.004; §33.011; §33.012 and §33.013.

                                               V.

       Further pleading, if necessary, Defendants allege and hereby invoke the privileges of

Chapter 41 of the Texas Civil Practice Remedies Code, including but not limited to §41.001;


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§41.002; §41.002(a)(b)(c) and (d); §41.003; §41.004; §41.006; §41.007; §41.008; §41.009;

§41.010; §41.011; §41.012 and §41.013.

                                                VI.

       Further pleading, if necessary, in the alternative, Defendants allege that they did not breach

any duty owed to Plaintiff or any other party and any alleged acts or omissions of Defendants,

KMHJ, Ltd. and KMHJ Management Company, LLC and were not a proximate cause of the

alleged accident in question and the resulting damages.

                                               VII.

       Further pleading, if necessary, in the alternative, Defendants assert all available defenses

under §41.0105 of the Texas Civil Practice Remedies Code; in addition to any other limitation or

law, recovery of medical or healthcare expenses incurred is limited to the amount actually paid or

incurred by or on behalf of Plaintiff.

                                               VIII.

       Further pleading, Defendants submit Plaintiff’s claims for punitive damages, exemplary

damages, if any, are limited under the Texas Civil Practice and Remedies Code §41.008 with the

amount of recovery of exemplary or punitive damages not to exceed two times the amount of

economic damages, plus, an amount equal to any non-economic damages found by the jury, not to

exceed the sum of $150,000; or $200,000. See Texas Civil Practice Remedies Code §41.008.

Plaintiff further may not recover any interests from any award of punitive or exemplary damages.

See Texas Civil Practice Remedies Code §41.007.

                                                IX.

       Further pleading, Defendants argue any award of punitive or exemplary damages is

unconstitutional and that the award of such damages constitutes punishment and violation of the


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KMHJ, LTD. AND KMHJ MANAGEMENT COMPANY, LLC                                                  Page 3
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Eighth Amendment of the United States Constitution. Plaintiff’s claims for punitive or exemplary

damages violates both the U.S. and Texas Constitutions guaranteeing the right to due process as

provided in the Fifth and Fourteenth Amendments of the United States Constitution, in addition to

Article One, Section Nineteen of the Texas Constitution.

                                                X.

        Further pleading, punitive and exemplary damages violate the double jeopardy clause of

the Fifth Amendment to the United States Constitution. Plaintiff’s claim for punitive or exemplary

damages also violates Defendants’ right to protection from being subjected to excessive fines, as

provided in Article One, Section Thirteen of the Texas Constitution. Claims for punitive damages

should be separated from compensatory damages in a bifurcated trial. Otherwise, evidence

admissible on the question of punitive damages may inflame and destroy a jury’s assessment of

compensatory damage liability.

        WHEREFORE, PREMISES CONSIDERED, Defendants pray that Plaintiff recover

nothing of and from Defendants, and Defendants be discharged to go hence without delay and

recover their cost, that Plaintiff’s claims and/or causes of action be dismissed, and for such other

and further relief to which Defendants, KMHJ, Ltd. and KMHJ Management Company, LLC may

be justly entitled.




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KMHJ, LTD. AND KMHJ MANAGEMENT COMPANY, LLC                                                 Page 4
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                                                   Respectfully submitted,


                                                   THE SILVERA FIRM
                                                   A Professional Corporation

                                                   BY:    /s/ Robert C. Turner
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                                                   ATTORNEYS FOR DEFENDANTS
                                                   KMHJ, LTD., and KMHJ MANAGEMENT
                                                   COMPANY, LLC

                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing document
was served upon counsel of record in accordance with the Texas Rules of Civil Procedure on this
the 16th day of July 2020.

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                                                Gas

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